OPINION — AG — WHERE A MORTGAGE COVERING REAL ESTATE IN MORE THAN ONE COUNTY OF THIS STATE, WHICH HAS BEEN RECORDED IN THE OFFICE OF COUNTY CLERK OF ANOTHER ONE OF SUCH COUNTIES, ACCOMPANIED BY THE PROPER FEES FOR FILING AND RECORDING THE SAME, THE COUNTY CLERK MAY NOT PROPERLY REFUSE TO FILE OR RECORD SUCH MORTGAGE MERELY BECAUSE HIS COUNTY'S PORTION OF THE REAL ESTATE MORTGAGE REGISTRATION TAX PROVIDED FOR IN 68 O.S.H. 1171 THRU 68 O.S.H. 1182 HAS NOT BEEN RECEIVED FROM THE COUNTY TREASURER OF THE COUNTY WHERE SUCH MORTGAGE WAS FIRST RECORDED, IF, AT THAT TIME, SUCH MORTGAGE BEARS THE RECEIPT OF A COUNTY TREASURER OF ONE OF THE COUNTIES INVOLVED FOR THE FULL AMOUNT OF SUCH TAX ON SUCH MORTGAGE, OR IF SUCH COUNTY CLERK IS OTHERWISE SATISFIED THAT THE FULL AMOUNT OF SUCH TAX HAS THERETOFORE BEEN PAID. CITE: 68 O.S.H. 1180, 68 O.S.H. 1178, 68 O.S.H. 1182 (JAMES C. HARKIN)